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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

GUY BLESSINGER, 1
AUDRA NISKI,
NELSON FERREIRA,
individually and on behalf
of all others similarly-situated,

       Plaintiffs,

v.                                           CASE NO.: 8:22-cv-01029-TPB-SPF

WELLS FARGO & COMPANY,

    Defendant.
_______________________/

      JOINT MEDIATION REPORT AND NOTICE OF SETTLEMENT

       Named Plaintiffs, Audra Niski and Nelson Ferreira, and Defendant, Wells

Fargo Company (collectively, the “Parties”), respectfully submit the following

mediation report and notice of settlement. On May 19, 2023, the Parties held a

mediation with mediator Martin Schienman and, as a result of said mediation, the

Parties have reached an agreement in principle to resolve this matter on a class-

wide basis. Because this is a class action, the Parties are currently drafting the

required paperwork to submit to the Court to seek approval of their class action

settlement under Rule 23. The Parties respectfully ask for 60 days from the date




1The Class Action Complaint (Dkt. 1) was filed in this matter by Plaintiffs Niski and Ferreira, as
well as Guy Blessinger. As noted in Plaintiffs’ Motion for Class Certification (Dkt. 40), Mr.
Blessinger is “neither a proposed Class Representative nor a class member” because he signed a
Mutual Arbitration Agreement with Wells Fargo. See id. at 1 n.1.
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of mediation to complete and file that paperwork, making the deadline July 18,

2023.

              Respectfully submitted this 30th day of May, 2023.

/s/Brandon J. Hill                     /s/ Brian D. Equi
LUIS A. CABASSA                        BRIAN D. EQUI
Florida Bar Number: 053643             Florida Bar No. 143936
Direct No.: 813-379-2565               BOWMAN AND BROOKE, LLP
BRANDON J. HILL                        1064 Greenwood Boulevard
Florida Bar Number: 37061              Suite 212
Direct No.: 813-337-7992               Lake Mary, Florida 32746-5419
WENZEL FENTON CABASSA,                 Tel: (407) 585-7600; Fax: (407) 585-7610
P.A.                                   brian.equi@bowmanandbrooke.com
1110 North Florida Ave., Suite 300
Tampa, Florida 33602                   EDWARD J. MEEHAN (admitted pro
Main No.: 813-224-0431                 hac vice)
Facsimile: 813-229-8712                MARK C. NIELSEN (admitted pro hac
Email: lcabassa@wfclaw.com             vice)
Email: bhill@wfclaw.com                PAUL J. RINEFIERD (admitted pro
Email: gnichols@wfclaw.com             hac vice)
                                       GROOM LAW GROUP,
Attorneys for Named Plaintiffs         CHARTERED
                                       1701 Pennsylvania Ave., NW, Ste. 1200
                                       Washington, D.C. 20006
                                       Tel: (202) 861-2602; Fax: (202) 659-
                                       4503
                                       emeehan@groom.com
                                       mnielsen@groom.com
                                       prinefierd@groom.com

                                       Counsel for Defendant Wells Fargo
                                       Company




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